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18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
19

20
      IN RE: ROUNDUP PRODUCTS                              MDL No. 2741
21    LIABILITY LITIGATION
                                                           Case No. 16-md-02741-VC
22
      This document relates to:                            PLAINTIFFS’ NOTICE OF
23
                                                           MOTION AND MOTION IN
24    Hardeman v. Monsanto Co., et al.,                    LIMINE NO. 2 TO EXCLUDE
      3:16-cv-0525-VC;                                     NEW GENERAL CAUSATION
25    Stevick v. Monsanto Co., et al.,                     EXPERTS AND OPINIONS
      3:16-cv-02341-VC;
26
      Gebeyehou v. Monsanto Co., et al.
27    3:16-cv-5813-VC

28                                                1
                            PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
                           NEW GENERAL CAUSATION EXPERTS AND OPINIONS
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     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
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     PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the United
4
     States District Court, Northern District of California, located at 450 Golden Gate Avenue, San
5
     Francisco, CA 94102, or as ordered by the Court, Plaintiffs will present their Motion in Limine to
6
     Exclude New General Causation Experts and Opinions. A supporting memorandum is filed
7
     herewith.
8
     Dated: 1/30/2019                                     Respectfully submitted,
9

10                                                        /s/ Aimee Wagstaff
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28                                                2
                            PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2
        I.       Only Monsanto’s General Causation Experts Should be Allowed to Offer General
3                Causation Opinions.

4            Over Plaintiffs’ objection, and at considerable expense, the Parties and this Court spent

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     over two years discovering and testing the testimony, evidence, and opinions of the Parties’ general

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     causation experts. After each side presented their general causation experts, the Court issued a 68-

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     page Daubert Order setting forth the admissible general causation testimony for this MDL. See
     generally Pretrial Order No. 45.
8
             During the October 29, 2018 hearing, it became clear that Monsanto intended to use its
9
     “specific causation” experts to proffer general causation opinions—even suggesting it may not call
10
     a single general causation expert from the general causation phase to the February trial. The Court
11
     rejected this proposal:
12

13           [T]he answer to that question is basically no. You cannot add general causation
             experts. If there is an emergency-type situation, if Loralei Mucci has a medical
14           emergency or, you know, something like that, and you want to seek permission
15
             to sub somebody in to provide, you know, substantially the same testimony, I
             will entertain it. I’m not saying I will grant it, but I will entertain it. But the basic
16           answer is, no, I don’t think it’s appropriate, given everything we’ve been through
             already as a team, to be adding general causation experts.
17

18   Ex. 1, Tr. of Proceedings at 41:8-18 (Oct. 29, 2018). Plaintiffs agree with the Court’s guidance.
19   If Monsanto wants to mount a challenge to general causation, then it must do so using its general
20   causation experts proffered during the general causation stage of this MDL – as requested by
21   Monsanto. To allow Monsanto to bring new general causation experts, who were not subjected to
22   the Daubert phase of this MDL, would prejudice Plaintiffs and render the last two years
23   meaningless.
24           Notwithstanding the Court’s clear direction, Monsanto’s new specific-causation experts
25   offer a wide-range of new general causation opinions. And, as discussed below, these general
26   causation opinions regarding Roundup® form, in their entirety, the basis of their specific causation
27   opinions. This is improper and violates this Court’s express ruling. It also undermines the last
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                                PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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     two years of work in this MDL. All of Monsanto’s new “specific causation” experts should be
2
     prohibited from offering any general causation opinion. Plaintiffs’ request includes, but is not
3
     limited to, any general causation opinions proffered in response to Plaintiffs’ general causation
4
     testimony and also:
5
     1. Dr. Michael Grossbard, M.D.
6
            Hardeman Report: Strike general causation opinions on epidemiological evidence
7             related to glyphosate, generally pages 7-8. See Exhibit 2.

8              Gebeyeou Report: Strike general causation opinions on epidemiological evidence
                related to glyphosate, generally pages 6-7. See Exhibit 3.
9

10   2. Dr. Alexandra M. Levine, M.D., M.A.C.P.
            Hardeman Report: Strike general causation opinions on epidemiological evidence
11             related to glyphosate, generally Section IV entitled “Roundup (Glyphosate) and NHL
12
               Epidemiology”, page 9. See Exhibit 4.

13   3. Dr. Christian Steidl, M.D.
            Hardeman Report: Strike general causation opinions on epidemiological evidence,
14            toxicology, and mechanistic data related to glyphosate, generally Section III entitled
15            “Assessment of Roundup as a Potential NHL Carcinogen”, page 2-11. See Exhibit 5.

16   4. Dr. Celeste Bello, M.D.
            Stevick Report: Strike general causation opinions on epidemiological evidence related
17
               to glyphosate, generally Section IV entitled “Glyphosate and NHL Epidemiology”,
18             page 9. See Exhibit 6.

19   5. Dr. Juan Pablo Villablanca, M.D.
            Stevick Report: Strike general causation opinions on regulatory agencies and
20
               epidemiological evidence related to glyphosate, generally page 15. See Exhibit 7.
21
     6. Dr. William H. Fleming, M.D., Ph.D.
22          Gebeyeou Report: Strike “Recent Literature and Supplemental Opinions,” See Exhibit
              8, Page 1. Although Dr. Fleming was proffered for general causation in Phase 1, his
23
              general causation testimony in Phase 2 should be limited to his Phase 1 expert report.
24            As the Court recalls, PTO 34 required that “any expert who wishes to testify about the
              study published on November 9, 2017 in the Journal of the National Cancer Institute
25            must submit a supplemental report by December 21 2017, and must submit to a further
              deposition, not to exceed 2.5 hours, by January 23, 2018.” See PTO 34, ECF 761. The
26
              Study referenced in PTO 34 is Andreotti 2018. Dr. Fleming was already a disclosed
27            expert when the Court issued PTO 34, and he chose not to provide a PTO 34 report on
              the Andreotti 2018 paper. Therefore, he was not subject to Daubert on that study, a
28                                                2
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1                 study Monsanto hailed as dispositive for epidemiology reliability. Plaintiffs agree that
                  supplementing reliance lists is proper as new science develops, however, the Andreotti
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                  2018 paper is unique because the Court entered a specific Order regarding the
3                 supplementation of expert reports for “any expert who wishes to testify about the study.”

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         II.      Monsanto Should Not Be Allowed to Offer Any New General Causation
5                 Opinions.
6              Separate and apart from Monsanto proffering new general causation experts, it also offers
7    new general causation opinions that were not proffered during the general causation phase. These
8    new general opinions should be excluded as well.
9              During the general causation phase, each of Plaintiffs’ general causation experts examined
10   all three pillars of cancer science—epidemiology, animal toxicology, and mechanism—and
11   performed a comprehensive Bradford Hill analysis and conducted a weight of evidence analysis.
12   Monsanto, having seen this approach,1 took a different one, electing to have its carefully-selected
13   general causation experts focus on only one of the three pillars—epidemiology (Drs. Mucci &
14   Ryder), animal toxicology (Drs. Foster & Rossol), and mechanism (Dr. Goodman). None of
15   Monsanto’s general causation experts considered all three areas of science and none performed—
16   or was even willing to perform—a Bradford Hill analysis. Similarly, none performed a weight of
17   the evidence analysis. Monsanto’s experts, therefore, did not offer the ultimate conclusion that
18   Roundup® does not cause NHL. Instead, they offered siloed opinions about each discipline—Drs.
19   Mucci and Rider opined that that epidemiology did not support causation; Drs. Foster and Rossol
20   opined that the animal toxicology did not support causation; and Dr. Goodman opined that
21   Roundup® is neither genotoxic nor capable of inducing oxidative stress.
22             However, one of Monsanto’s new “specific causation” experts, Dr. Steidl, seeks to offer
23   opinions on all three of the pillars of science. In his Hardeman Report, Dr. Steidl offers an opinion
24   that the epidemiological, toxicological, and mechanistic evidence considered together does not
25

26   1
      Plaintiffs served their general causation reports on May 1, 2017. See ECF 78, PTO 5. Monsanto’s deadline to
     serve its expert reports was extended through July 31, 2017. See ECF 322, PTO 24. Meaning, Monsanto had a 90-
27   day notice that Plaintiffs’ experts were considering more than one pillar of science and also conducting Bradford
     Hill and weight of evidence analyses. Even so, Monsanto chose a different strategy with its experts.
28                                                              3
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     support a causal relationship between exposure to GBFs and NHL. Ex. 5 Steidl Rpt. at 2, 13. He
2
     also attempts to conduct, albeit superficially, a Bradford Hill/weight of evidence analysis. Id. at
3
     13. This is an entirely new general causation opinion, not just a new general causation expert. It
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     is improper and violates the phased discovery process. To the extent this Court permits Dr. Steidl
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     to offer any general causation opinion, he should not be allowed to testify about any Bradford Hill
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     or weight of evidence opinion because those general causation opinions were not offered during
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     the general causation phase of this MDL. Similarly, and for the same reason, Monsanto’s original
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     general causation experts should not be able to consider new pillars of science not previously
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10
     considered by them or testify about any Bradford Hill or weight of evidence opinion as that would

11   be new general causation opinions.

12   III.   CONCLUSION

13          Based on the foregoing, Plaintiffs respectfully request that the Court enter an Order

14   granting this motion in limine and excluding any evidence or testimony regarding general

15   causation from new experts and also excluding any new general causation opinions, from both
16   new and original experts.
17   Dated: 1/30/2019                                     Respectfully submitted,
18
                                                          /s/ Aimee Wagstaff
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                PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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7                                                       Plaintiffs’ Co-Lead Counsel
8

9                                   CERTIFICATE OF SERVICE

10          I certify that on January 30, 2019, I electronically filed the foregoing document with the
11
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
12
     CM/ECF participants registered to receive service in this MDL.
13
                                                        /s/ Aimee Wagstaff______________
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                            PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
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